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Attorney for Defendant
CAROLINE HERRLING

IN THE UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, Case No.: 2:23-cr-00059
Plaintiff,
VS. NOTICE OF ASSOCIATION OF
COUNSEL
CAROLINE HERRLING
Defendant.

 

 

TO: THE UNITED STATES DISTRICT COURT; UNITED STATES ATTORNEY'S
OFFICE and/or ITS REPRESENTATIVES:
Please take notice that defendant, Caroline Herrling, by and through her attorney ALEX R.
KESSEL, hereby associates in as counsel, RYAN V. KINDERMAN, in the above captioned case.
The contact information is as follows:

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I hereby consent to the above association of counsel.

DATED: _ February 17, 2023.

/s/ RYAN V, KINDERMAN
RYAN V. KINDERMAN |
Attorney for Defendant,
CAROLINE HERRLING

I hereby consent to the above association of counsel.

DATED: February 17, 2023.

/s/ ALEX R. KESSEL
ALEX R. KESSEL
Attorney for Defendant,
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